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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                :
Ronda Pino,                                     :
                                                :
                 Plaintiff,                     :
                                                  Civil Action No.: 1:11-cv-11790-JCB
                                                :
       v.                                       :
                                                :
Healthcare Regional Center CCA/EOS CCA;         :
and Does 1-10, inclusive,                       :
                                                :
                 Defendants.                    :
                                                :

      PLAINTIFF’S ACCEPTANCE OF DEFENDANT’S OFFER OF JUDGMENT

       Pursuant to Rule 68(a) of the Federal Rules of Civil Procedure, Plaintiff, Ronda Pino,

through her undersigned counsel, hereby provides notice that she accepts Defendant’s Offer of

Judgment in the amount of One Thousand Seven Hundred Fifty Dollars ($1,750.00), inclusive of

Plaintiff’s costs and attorney’s fees. A copy of Defendant’s Offer of Judgment is attached hereto

as Exhibit A.

Dated: March 14, 2012


                                                           Respectfully submitted,

                                                           By: /s/ Sergei Lemberg

                                                           Sergei Lemberg
                                                           Lemberg & Associates L.L.C.
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                                                           Stamford, CT 06905
                                                           Telephone: (203) 653-2250
                                                           Facsimile: (877) 795-3666
                                                           Attorneys for Plaintiffs
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                               CERTIFICATE OF SERVICE

         I hereby certify that on March 14, 2012, a true and correct copy of the foregoing
Acceptance of Offer of Judgment was served electronically via the U.S. District Court for the
District of Massachusetts Electronic Document Filing System (ECF), which sent notice of such
filing to the following counsel of record:

Andrew M. Schneiderman
Hinshaw & Culbertson LLP
28 State Street
24th Floor
Boston, MA 02109
Attorneys for Defendants

                                           By_/s/ Sergei Lemberg_________
                                               Sergei Lemberg, Esq.
